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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:07CR98
                                            )
             Plaintiff,                     )
                                            )               MEMORANDUM
             vs.                            )                AND ORDER
                                            )
ROLAND K. LONG,                             )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant's motion regarding a potential

reduction in sentence under 18 U.S.C. § 3582(c)(2) (Filing No. 112). Defense counsel has

been appointed but has not entered an appearance (Filing No. 113).

      The Defendant entered into a plea agreement under Federal Rule of Criminal

Procedure 11(c)(1)(B) in which the parties recommended a sentence of 144 months. The

Defendant was sentenced accordingly. The Defendant was held responsible for 45.5

grams of cocaine base. His adjusted offense level of 32 was increased to 34 because he

was found to be a career offender under U.S.S.G. § 4B1.1. After an adjustment for

acceptance of responsibility his total offense level was 31, and he was placed within

Criminal History Category VI. His sentencing guideline range was 188-235 months.

      Under the recent amendments to the sentencing guidelines, the career offender

enhancement under § 4B1.1 would still apply and, therefore, his total offense level and

sentencing guideline range of 188-235 months would remain unchanged.

      Accordingly,

      IT IS ORDERED:

      1.     The Defendant's motion regarding a potential reduction in sentence (Filing

             No. 112) is denied; and
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     2.    The Clerk is directed to mail a copy of this Order to the Defendant at his last

           known address.

     DATED this 16th day of March, 2012.

                                               BY THE COURT:

                                               S/Laurie Smith Camp
                                               Chief United States District Judge




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